                        2:21-mc-02001-CSB-EIL # 12             Page 1 of 4
                                                                                                      E-FILED
                                                                      Wednesday, 19 May, 2021 06:12:07 AM
                                                                             Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                    URBANA DIVISION

  MARTIN J. WALSH,                               )
  Secretary of Labor,                            )
  United States Department of Labor,             )
                                                 )       Misc. Case No.: 21-mc-2001
                         Petitioner,             )
                                                 )       Judge Colin S. Bruce
                         v.                      )       Magistrate Judge Eric I. Long
                                                 )
  B&D GROCERY, INC.,                             )
                                                 )
                                                 )
                         Respondent.             )

                 SECRETARY OF LABOR’S MOTION FOR SANCTIONS
                    AGAINST RESPONDENT B&D GROCERY, INC.
       Petitioner MARTIN J. WALSH, Secretary of Labor, United States Department of Labor

(“Secretary” or “Department”), by counsel, pursuant to Rule 37(b) of the Federal Rules of Civil

Procedure, respectfully requests the Court issue appropriate sanctions against B&D GROCERY,

INC.’s (“B&D Grocery” or “Respondent”) by entering an order that holds B&D Grocery’s

owner and President Lester Detweiler also in civil contempt, imposes a $150.00 daily fine,

payment of attorney’s fees, payment of service costs, and any other relief as the Court finds just.

       On April 26, 2021, this Court entered an Order finding Respondent held in civil

contempt, tolled the statute of limitations from December 16, 2020, and granted Petitioner leave

to file a Motion for Sanctions. (ECF No. 11). As of the date of this filing, Respondent B&D

Grocery has not complied with this Court’s Orders and sanctions are appropriate. The factual and

legal bases for granting the Secretary’s motion are set forth in the accompanying supporting

brief. For the reasons stated therein, the Secretary prays that his motion is granted.

       WHEREFORE, for all the reasons set forth herein and in the accompanying Memorandum

in Support of the Secretary of Labor’s Motion for Sanctions, the Secretary respectfully requests

                                                     1
                        2:21-mc-02001-CSB-EIL # 12            Page 2 of 4



the Court grant this motion and enter an Order:

       A.      Holding Respondent’s owner and President LESTER DETWEILER also in civil

contempt;

       B.      Ordering the U.S. Marshals Service to personally serve one copy of the

Secretary’s Motion for Sanctions, Memorandum in Support, Supporting Exhibits and Proposed

Order, the April 26, 2021 Notification of Docket Entry (ECF No. 11), and this Order on B&D

GROCERY, INC. and its owner LESTER DETWEILER;

       C.      Ordering Respondent B&D GROCERY, INC. and its owner LESTER

DETWEILER to produce all responsive documents to the Secretary within five calendar days of

receipt of the Order by the U.S. Marshals Service;

       D.      Subjecting B&D GROCERY, INC. and its owner LESTER DETWEILER, to a

coercive fine of $150.00 per day for each subsequent day (after personal service of the Order by

the U.S. Marshals Service) they fail to comply with the Court’s March 11, 2021 Order to Show

Cause and fail to produce documents and comply with the Subpoena duces tecum;

       E.      Directing B&D GROCERY, INC. and its owner LESTER DETWEILER, to

pay the Secretary a compensatory fine equal to private service costs of $125.00 and attorney’s

fees of $875.00;

       F.      Granting the Secretary leave to file additional sanctions against B&D

GROCERY, INC. and its owner LESTER DETWEILER, at a later date, if they fail to

comply;

       G.      For such other and further sanctions and relief that the Court finds appropriate.




                                                  2
                   2:21-mc-02001-CSB-EIL # 12    Page 3 of 4



                                         Respectfully submitted,



                                         ELENA GOLDSTEIN
                                         Acting Solicitor of Labor

                                         CHRISTINE Z. HERI
                                         Regional Solicitor
P.O. Address:

                                         s/Lydia J. Faklis
Office of the Solicitor                  LYDIA J. FAKLIS
U.S. Department of Labor                 Trial Attorney
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Chicago, IL 60604                        Attorneys for MARTIN J. WALSH
Telephone No.: 312/353-6992              Secretary of Labor
Fax No.: 312/353-5698                    U.S. Department of Labor
E-mail: faklis.lydia.j@dol.gov           Petitioner




                                     3
                     2:21-mc-02001-CSB-EIL # 12              Page 4 of 4




                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Motion for Sanctions and
attached exhibits of the Secretary of Labor were served upon all parties in the above entitled
and numbered cause by depositing the same via UPS, in an envelope addressed to Respondent’s
last known residential and business addresses:


                                        B&D Grocery, Inc.
                                        1510 Lake Land Blvd.
                                        Mattoon, Illinois 61938

                                        And

                                        Lester Detweiler
                                        1733 CR 1000 N
                                        Sullivan, IL 61951

Certified this 19th day of May, 2021.

                                                       /s/ Lydia J. Faklis

                                                       LYDIA J. FAKLIS
                                                       Attorney




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